Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 1 of 24

~~ 1" ihe
| Aue \
Cy We UNcled States Drstecter cover Jy) Ua Li
| vt He
| |
ah

VrstekelT CE ColuMRir

ff

Unnten StH oF fcc, ashe
Casati¢g [Resron del, . Kad eu awd Yor) Pocee/2/) hocedures of
Cant, slo. 43 - CR HB CTF HD

V5 FILED  Mowdatoy Ture rac Morice - wd
> ; J d wae date Subrogation &
FEB 21 202 | 7 ema for vt Wece boi aud Farrer ,
Jose MiasuTo . re, ee date wee the ve Pel
ose. m . . vsic€ ;
strict & Bankruptcy os - - ay
Cestui Que WeTrusr cet coeine Dist of Columbia - “Tig ie ea n Violation t Cee
”) yn 2
7 e Article 46 and Amed a
Defe mw Aan] Movin ' . lode tick of Reverse wary ywteresT To The
Tese-L : Maraniyo og the Lawn ly of Secretary o¢ Treasury, HearVe, okile:
Narre g? Sole hemePice lod Fedruety 2ofO.
1 CPiciary The ee ay of , ee
Jase L. Henao ve Tei Qee -  Cowmon- baw - Copyright dle 3° _ ote
. . , C2sToi ez. . Taaueir T /
Wie Trosy : ad 20.
* f . 2 . ' ~ é ~ ool —
Surety awd Third farty UvTevest interyenec net eruofiadial Mu mbes: POG - 1830

 

 

Mernpatory SyDiCrAl Nome Thales at Your Owl Pec

t AvWA aH fe. jure Peevaye Native born) Amecicaw Mifioval a Sovereign Whe hy lear as
Vobutifi cd ip Article ara SecTiow 2 ef. The (or 77Mi2 pp ‘) Tle united siales of Aeeri co
“Nora Sfedevully oumed US-CT 370) j.€., esp, 7 w Hote pecially created WR Amenclauent”
ef “aad Ar Such, Lan ent ile 10 Qa Ack. Coot ae Crp tortaf J 0T bate
ties vs. Peles! legible Cove i AOTC meg Case alo, 93> CR COONS CTF A)
. leat aw / Youd prep Ace proceeded) procedures hed Fen oral) Vasey WolaTior
Lradute ° A rt pag AcTicle TZ, Sectraw 2 Soyer eiGNs Of
cd rau) (octes Lebpeck Murer juend Mor over § ly Ceard MAKE 5 Gee “Ws aye
The swres, Wal 15 & political gbferm maton winch CATE herein,
has the joie auTngity To Moke forme. Asis “4 ee Awertcan
° ; . d seb Malis: Oa pure duct tore. rt. "e/fOC
To6d bats AM GMA 2 5 wile ye ab a» The ferwAmy- 1l- 5
Ntcnnl Mond= OS. CiTigen, aw J- Inaeih Te rd7 ON, WINSEON oni cial Msfice of The
Cus juris, Comes as The Fohrogee CEA MBIT OT eversisala yg Re
OT fachavig, ¢ Wis (ase 4 G5 CR 28 018 A) A ee a
Teor Te the Unite) Sates SocteTony a Treasury, 27° UN ay is Soups casThen hs Catind
Kors below pucsuausr 7 ules a eviseWes Gor EAC’ | *
2rein) Be i
and listed onder MATES AT large as Fellasky

~~
— eee

 

Us a

). 6d stat, 696 [isgus.c- 29a],

D. 39 sen. MS TIAVEEMT gga r
5 af - U5. F994 ‘
sfo at. Tel with Pre Cteig Rea EA fer 43% a ; | i ot cee sn a
) 3% STAT. 1803 Heque Treaty Soares 492, ALAA ne
( in Surrectie gun) ret Wo) gece Tonal Red Cres Conver Tion lied.
CClES 2TF !

a sTal- 940 Treat CF : Ag
Ther Code gow tral body Joo, Articles 3A 4 45
4). law oF Nations GookT, 142 #)96 bec -
§).16 US.C. 2333 ”
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 2 of 24

KeKnowledge fhe IustruTions as Poifows:

Pravere APPOINTMENT OF Ta yTEE

The wud etsicned Decerclintt /MouawT , being over the age wo 18 and Co sup Fen
To OpporsT by yirivare Gypoiiiment bit Oud TrTee” hes So wiThin Tit hou mene
ans {Y awedance Fo CUES OF evidence pulie Fou- Seif - AMMA cating,
Evisewce of he feaern Mimed Apres) below $

APL.) Steve mith, Secretary op Weesury Peete Apornred as
DEpaTMent of Treasury ar 1500
Pewnsy anion MEE V.W/, Reon BY
Wa Sh) Naor, DistrecT of Clo miboper 20220 -[Spo

j ustee Of USULrucTTtug °
ve bin
Mr. Steve Mayc p WUTCE, you herehy pri

vately ayporniie) et Tre WUC Lo

Jose A harsmye | Fe s¢ Mea fe CesTui Que vie WOT, GW IN The Cores GB. CR

000 UF Fit). Your Spec fre dotier are That of- he fi rwing of “Trust law “our
Execunve Order 3] f,5.C. Bal EO. (2958, 60 FR 19825, €.0. (3242 , Og FR ISZIS 3Ge-

Metal avihori7y of: the. Secreting of Wax Weesesq ; SecTiod Al, jpo eessi

4s . : wd ° YO CESTIARO
Mavstto He clacsife Calion review hee wesTh Wh ef demos ts wor 2x Cui er .
Search aad (evie® vad evo Sectiors WSC) 1oSD, or (oF of The MAT cal euriry

Act OL 194F (SOUS.C. Section 43), 434, an/ 34a) [$0 0.5. 99 3it- W434

452..) Notice of Asse
’ GN MENT OF REVERSTD a _
IAV.S.¢. C . REVERSTOUARY LATE RES By S¥ECIAC Dé&oszt PURSVANT TO

\ Wud the 8 tba (2) Fee Full ACQUETHMCE Au Discuance leuedictely

WRAAS oe. fhe SVK, ad Hejvcrie US -Dintiet C url ey
Colo; iY - = Wows OF
the Diseases of folowib (on Heal Mey ad mder thei oder viriTirtg Warrant 1) VO ~
ATlow of Liber CoH Reticle 46” aud upder Their Viola frorse eid Tang STD Verto Ing.
Comer) awd 1% fhynend densi for we = peale og fhe U.5.p. lane
Case Ade 93 -CR-coo 4, 8 Cr Ft). proceeded frad lent firejucice Vo? proce Jdres Sihte
2004 ac wre defect ded 7, Aftemed jd My thw clam aud hy (ar) Am PAeT Bo7h
eed __ Af Ff Oe, 29 19, FuaT Gre Ww SuyporT of Tau Pensrnd for
aaegiane SUbreg¢@Mors Gud EXoseraTior Gud VartaTe fhe Yor d and tras] eut
PPO’ fodsmenT af Cove 43 Cae oon 418 OF) |

Dear Secrvelary 9F he 1st boc The Valve received), sr Chines Cage %
4-ca-ooe4lg TFH) The uasemiigned doer dehver, acign) aad Trane

ASA Special AepsiT veTs Te Unie Staec Trecsor, a P Share af prefe Wed,

awd Commer) Stack o¢ De Fravlewt Vard ~ Criminal Cark above standing ~

Px pwd (or Mawes) af Foxe Miraniga [qose £. Natapo,DoBiod fesliiny awe 2 b yo,
Copyé gad release The pevers1ontard INTCLEST In fe oniched enunen ous
Teo demenrand Commtarenf tut Te Social Seevrity CicoonTs 986 leolge. T

i 9} 2392 To or for the CtcounT oF The United STATES AS om pre?
CS RA-RT > puptuanr 12 SbAUSIOX oF Tile 50
The Social Secur:TY Adount Created fn"

— 72 ofs| —

 
| \
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 3 of 24

U.S.C. § 4305 A ppewoix Sb, IAUS 6. Wa Cz wth Wren, Grid purpose. for a oil Cnc Quiteaee
Cd dMochas® $2 — aif purjnoses og The Chhgatiew of The grinTor[cvbrogce 5 awd, Mal Si / Opseyar
ce i a Ow et a 920d far ib wiMof relourse RP The Greator relying aw Sad Sub Wires i ke he
alan ais] Clon) OF Nhe Conveganke. Jase €- Nik}c @ pre vale Walive-horns American Apia

Never i Life have Iwiewsed To abachsyd My pwoperT fe There, LZ Surender The USUfrucT purrver
To LAVAL $95 a Cj). Ar A TUSTERCS), aud purssanT To 000 ConTyacl, which is BUS -C. ¥95a@
You are Now Iwsicucted aud obligeted wacker The. law of The U.S.A. CousTiniior Ba tle Te Peon
. Te pay wihhovot Klay Lame diaTely 4 and inmegilely eleberge all fynantcia! obli gallons oF Foe

We eeb., beCoy aIT Mee 264 -W ASIF ESTATE ,7 You have C3) Glew/ar wor kiug segs front fou
ate that vou receive ti Demand Semancle) wi Thy pocu ment Fo toca) witho JT Hey uy
Poperry» .

Vour Responcspcixty: Evclored perein), (5 SAT obhgafie.0 5) whith 1, JOSE © -~
am fresemfine, T9 Thit your office fow Ful aggu Tanc® guid Asebarge pursian!
US-€. €8, This is US, law, ave! you are vwder Pe (aw reguite) Te Cucforce 17. F
Peahse the Credifor Will b2 In IeSuctecTion Gur) Lee belhors * t he fhe feals Pe oucbarge
the Judquent SebT and release Me \e€» Jew L. Naam Po “The Sovereign, too eeuf
forther oblganon , BT artless be [the is Ordered) Te ee 52 A7 ¥ our HS he [the a61/
Ignore 17, So As the director op The Ogeneg 1? charge an one PD Pe Obl se
Throws, aud puituanT 72 your Oath a OFF (Ce, IT IN your very enforce These Clauss,
Or you Will bE i ncurrection) awd) (ELEM Er , ane) PETIA EE ANTI «
LT; Jose i Naninpo © pow Seman, thaT Ag properly he kliveved 7 fed ond
. ” - . Fifi e Title BL Srid Goder,
diately at Laur The holler in We Course GME COTif) CATE FOOSE FOIL

wo *
Seu Yo i Order ge Zit hel ae Jo: Uviten Stites Diserer Covet Fon. THE Dasiear
eo Colom Bix, ot 33% Cawstiiio kev €, Now, Wash) mfTon,
HC. Zeool Bare we Giavwal Case No- oe

.

please Sead To me pe a Clatu form which is Me ewTewed ins 50 Us.C-

SecNow 450G- Claims To vepnerT4 Trencferred % Cosfodia yy Mice oe Clair; fihags

fetorn of prepeTy SuiTl To recover 7 Sale o¢ claimed properly tw Tine Of MAT
ne / / ; - 4

dv Jutiva i National emlrgeVe4, L- S.-— Thumb PriwT Verify eo)

Te he evenwy Yev Doi | un Yous KT 7 To Inforrr Fx. Crédiioy~ | Ted howe,

  
 

Kc eonecT fos

Agent Withost (ecorse ow Meg oTia HIE
atta manly , Sey gers j private boc -
Native Amert Can atonal Was°V-S.
Lees, bene ps cial fowper ff0sT

Crm halder © Jove 1. Madi z
Estate, GF Tose £ Maing a
Eneli Cony & Criniwol Core Lar Specia) Sepor (7 og feversionlary Inffeic® AS A Cong &
debs vbligaNow for GcourTiayee & discharge.

Sua COS TGIW) oF ; qj 9°20, 000,60 Dollars, in Soca) §ecu nly A@oun7 No. Aét-qQ ~483R

Lub maiTed,

  
4

Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 4 of 24

Wiles ses t

 

Daye ¢ 2/\ [Zo

 

 

Dei 3 2/vi[eo22

Pegi? : cf [1 [ogo

 

 

‘\
” CenkFcaye o¢ Seeutcs ~

the Undetiigued hereby Cen fires thar Service of process WAC Maude
ThrovghooT the ’ United Seaes PosTal Cervice” [eomtratT\q¢ dhjplases) F
> wi aC Aty aye
be Mailed ooF OW. This __L__ dey of Ethie _/ Z02Q, 7 t
Y), Uvr ed SteaTes g ecreTAs7 of Tneasur 4} Steve Muyuchm, SecreTary of.
Weasery ; [G00 Vern Sy lanier Avenue, MW: , Washing DC e220~-\Sco 5
(ETL ed ai! receing # 2015 - 20 3) pong -35 F?- 4629

2. Co oy OF |
10: Esey v€ Chieg head Leeder o¢ USDC. Provost Marchal lwvethgahve Taw
Al! 2043 Barner foenve Misiw€ Couns hase Quaitico, VA 22134 CeT ited
Mail receusT #20 (3-1830- oaol~ 12-1694

3). To: U-S. Dasyeecr (ood , periermel Diiyotve) /) Vig) brapolan Case no,
95 -CR~ C60 YB CTF A, 222 Coeareh "
. : #) ce o¢ fn clerk 334 ComsTiTvTiew Ave-
( [ “a jDC Acoe | , Cerlipied ften LEC apy FE

L018 - 1830-000! - NGI? ~ 4682

    
 

AD), Leg. Mer IN3) 052.
FCC Colewmnraqyw OS #3225. Go. loge

Coe Mion Fe cal

— 4 of Y—
| I
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 5 of 24

AYE Op tte SiATes Distect Cover oF THE DastarcT
oF Colum PIP-

 

- - wahigeo ie. se. ©
Jos e-Luns * MyanwttO © FJose-LuisiNatang? Ste

: | é |

OF Uv comsT OTe wel UPLaAwLy| No: 45 ~ CR -OooNIS FW) guid unser
Cetse of he Federal Disitret ¢ yt feu! York ply, 6: 73-000 E-2F 5
99 -ce-asH(S-2), fe/? ral Diiteee! eM th Garljnda, Nea 32-284-C1 5
ca- 33-Ib- OF-G, ail UUConsTiTeTrenel “

United entes foc Aaerica and Co eidioc
. a() Aner bez h
U.S, DegTaKer Couat of Coltumptrs, TF Bogan? av! all y e Teles
Theil Acecft 1 falc @/ 67 DeCendtemi' wilér Their fp fREsarveal ae OFLC Ee.
Capordrvy and aGiSTVaTs involved in CAS® > Abuue-

 

puazn Jue £ Di oo Ragu”
NGpiavewea @rocedyre VUTer Me Rowse s A Fuktwe gut Sedat
» Comptia rebeTealiny ThE VNC van Yall REG UITTATe wilt? )
* j ~ y a . “ F ef
ite Haga nw ————— fed en ans dteasiad OF ENCE he A
pW Oe mM) heed aol US Copp 0G, ceed Mat
eT rity Wet py ~gooly Wame had ¢
re lel - : , -
: . 4 J 4D - ©.. heveby w Propia yedowa, wT
ase~ Luis 4 Naver \ am J oh _
doverergn Fe ; ) doanand b - resped Paso d aud ‘owen
This complaint To reget ave CMTS Ais Tacpnowlédge it fo! G
a Ame icn COMSTIRTIONA] , de ee Laat PR
The vuted SAEs OF [ issues avd fais heb i~e : ron
sual lawfyl eeT7a latwawT S05 Me. wostclic Te
ConsTTUTIOMA eminos Thi couel That the Com ie, Cong) j A ses Wa
3 f Cc Sn Le Cdiwtig av? DS wy ie Tr authors, avd Fa fi,
in€ Covet hia ae Copeti pipiens! PY Yuiled States? which jp Gas AUCE
jeasdieion We C fetricl Cock FINE fred states & urricow
' le) 19 TV 2 far Tae vw
guit is fi é 18 1 The CoustiWD?
BL CouctT pul

 
  
    
 

    
          
   

The € purisdi od
4. Dogew Mans have eateogpte/ T0 0 yer ca o f- Int g Couvl <
' - ~ : Ove we .
The Court by Lilrig Their Metion O eeteun Court WoT He Same Cort ,
e 4 . an 2,
Unie Grates ; which 19 | A qua Tharelee, ‘the D wudaltie al
* * . , jgyvir . L 4s
nag Totaly Affercet Dey ce belug vied id Pa wrens Cond, “and Nie,
aud Orders ad. v 2 4 = iv TO Which The Complalnan pare
_ ac qué resnest This jv cisdieTion 9 loo Poo¢To Rico 259 U4
just How a i (0) AL Ts Ralzacvy, e097 io j _
- aupecis aud Filer % +, JTAET explams Wal: The Yer
for Ld ae osTice Williews Howard ee
298 C14 aan

d
A 7 pliche 2 vedere
t (Covet If (wov_[ a Trve upcted otales Court Sta
srares Micact Cows

  
       

  

  

-toc tf -
{ :
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 6 of 24

Article 32 of The CopsFiToTion) Fo admmisec 72 var cial po

Owe r OF
UMIED Slates herein Comve ya). 43-—-T7 15 cveaTed by Vie fme
Bovereia a Co wqnessio nid Rohs iTy granied univer aticle mw | SeeTica} 3.
ag Tres In STrUMewT of Holi ky all Meee FIT Gad

ro tdiipwle *
ti Csyectiug The. Te sitocy be lowdi ney Te jo he Vwite) Siales, the tescupblanwle

OLS Julisditiod To Thar of “The. usted Stdles CourTS, in
Oppoctu pty Te nowresidevTs ec FEsorl, wg To a Thbvval hor S55, pe cila
lucwie., cbes NX change 7s eoarader as a Mere TenTTosial
4. ch eg Justice Clavier Evans Hushes clairpes he AN gTincTions
on son) “wilted Stores Distecr Court “avd “Disfeict Court oF The Wied Sites”
1) Nookini v: Unie STATES, 303 VS. 201 (1938), The Term “District Cows T of
The vwited States” aS used i io The rvfee, wrthour Gn ad/Tion expressing
A virder bo WoT aNen), haS TS higerce Sigpificance, (escribes | Tha. ConsTitvTiond
Courté Created vpder aTihe TH ag he, Com Maal, Courts oe Tha Ter iTories
are (eaislalive Courts properly Speaninla, aud ac€ por Dike; CT CourTs of The
Wired state. We have oF fens held Tor V) VesTiong & Tenforial Court with
Poadictrop Similar To Ted vested i Deter Courts of 5 Fie Unite) STATES goeg
NOY Make IT a Spistricy Court of Te Op Ted Sted,” ak 5, , score. son c
Touw Poul BTeveus io nguy Yen V.UmiTed SATE, Tanes These prece dels cnn

crectres ArTicleT Unsved Srales Distinct Courts Mo seover We do WOT
rea.) The esta paw Sate Without regard fo p The. “histocic S ifr Cans"
of The Term SUsted STayer TistricT Court ' "sed rw) Title 23. kin

Vi Ysited States 333 Ys, dol, 22S (1438) LS Wihoed a odAtion expre -
sin a Wider Chwarae thar Term or narily , excludes petidew
Tewiohia Courts, even when thew Tu urisdcTion is Similat Te Thal af The
Uuited States Disticl Covel recited" under Artie me See ae
Summers v- Vurted Srates, 33 (US “3, (O\— 102. (1419). (fhe. Courts 2

J Fan)
es vé $96 1 ee icTiow) eS Qrisy 16 OS i Th
oy as O Mad ee Fee ye ihe as if Vested in en Cleon Ane Ate

Courls, but in segs wal Make them Circu TF and AstricT (ovtT of Jh2-
Vurced STAG ”) ae 6, The Term * United Saye’ Deleicy Coucl “ghes pfor

AnpAr 1) MooKkini vs Usted Sales, 303 US - Jol (143@), The “h! PON’ Sig Wifi Consce
1s of he Term “Qi STrer Coutts of | foe Uuited Slater+ Ney Unite, SECS Desqrier

Ov rile

Com. #2 The u.s.d.c. is Wor Oven eal Article LT Court,

¥ J As oye cies ure
Ovtsigeé of the jor QeWMeNT, The Cow Titioal ortgya) of The USDC 1S & Territor chuse

Ot 45322 Cis ve The Qovewmens I) See. Pmentau ivsutavce V. 356 Bales oF Coty
avd Paizac v. Wu erts ico a5 Two stellar exa nyles Uwe v¢ The Gread Masters
of The, Const ifution Chee wstice oun Mossherty, WiFi Ting 10 the > Cou 1323, Justice
Mareivall Makes ow very clear dihisction befaren judieted Courls cevihe O40. Yor Brticle

ee. aad leqislacive. Cheetito ial) Coot ee eo b. Aricle W, Narshan even

tx oO e mo

Reticle n Soden gon ooce ob eee Jo dggereMiale fos Cour Groua

—2 of F —
| 1
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 7 of 24

Nthese Crerriforial CourTs They, ore. Not CousTiPTionad CourTs 10
Hic AIC Payee 5 ihe , -
Meat a $e", sted. FseeMberted by The Cons TOY) ont Me pe
CoutlS, Created ip WWE of He cenerel Cafilt ac SaverelGNty which Exch jn
he. goverment, or in VurTv’ 66 Tus clause which evahle
; ed) (les and COGUlaIAnXK ¢ , lad:
Fn the Bad & es 1e. yrs eT on wi wich hey ALE INVESTEC, cD
NoT @ part of The su dicted poner which is define) jo The 3d arlicle
of he ComsfIVTen, bYT (s Comte red by Cowsress, jn Tre Cxecut ion
of Those general powelS which Tht body possesses over the Teri
jo ries of Tue Up ‘Ted STaIes,™ ei Though ad mirallT/ furtedicThen Can be
Sere sed) The Slater wo? Caurels aly which aye esta blithed ja
tie (e y ALT TUT OW, The Same Cim fapion

hes' UstT 2xTeud To The Tegiiories—Ip legislating Lor thew ™ Cowaress
exercves The combived power 2€ THe Bveral Gue/ a the Stare govern-

Ment; MEL Caw Mt Co. NV, 356 Bales e¢ CoTfow =|
Cenlnes ended) We O° Ne 90 BASE Lifer 5M (829),
“thovep the vdical Syfem Set up mW a Terrifory o€ The gu iTe) Tales
NS a part of Federal jursdictio®, the phase ‘ Court of Tha ied SieaTes
Whew usedin a Fedelal STAITE, (5 ge vera Cossfrued af APT

‘Feertfonal Courte” See baleac v, Puerto Mico, 268 US. 243 OT 31a
(2), 42 cr 3y2, 66 LE 622,

 

  
 
   

 

HS, Cong leavT Jemands an Constteiorde) je nseTIer jy the Article I Cour

cud ie The Covet Canmar Conyly with The Coutitengneal Jurisdichow “In beticle re
Court, cad 1¢ This Court Comply wath the ConTretonal Fy riidichoa) Oma foe,
“Then your Codes gilous Thig Count To Wawsfer tus Meter [ee Feral
cad Wear cas Cassi rtioulal putiahiliond) * C3 uyglicaTeust ovidersfanids The beekra
ia four Cad beac Matlers o¢ fre Const lione) tide Aatricaad
VaTiouals, Ofherwi€ The CouT win please inittact the Defendant 7 Ave Tue ir
plecctians in The Como, “ In the ATCT Courl Lor he UpTed Stats, “or Be 10) fas.
WqQ, For a judge To he € imam it ; he uust fe able To TRWVE the CourT
Subfect Mater JunsdicTi on) aud That he WAS operant, Ina vdicial CayeciTY4
For a Judge To ~Dhave Furishetion LTO ~ IS Just aas culega Tod, NOT prot)
GurisdcTiow has To he fade rd by fhe Cuidevce Thar it already ow de fbcord of
The defemdaws) Court % and thee Caw't pyove 1 because there i Ms evidence
ef Junsdiction ov 7record oF Court,
io, lo Mylansanr has been Trig 70 GeT T, F. Hogank 7 .
commer ag yd avy] Moc strase juaulved ie these UNCSMTITTI2 Mel C4325 Obsue i)
fist “Te _prove befde had surcidiction for & Ler lowe Time This oJ mtaisce
TMLVEe remeds to whic Tae ZeteudnTG) Jefavifey, Lecause hag lant prove Auris
Abies, Go They avoid Theicgsud of proor Gad Jost claim Sant unr y, but Couplan~
ant Jomgnds the [rook of gwdicnon Gud proar The Judges WEE ontrapiag jn
Rat Judicial CapeciTy Which is impo Side whe ents reine STATES.

~3 7 —

 

 
[ ;
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 8 of 24

a td, Defendant) have mort devied Complainant Jve process When}
They Reed to ve hold The 6M PuneedmcaTt vegciremenTs To be Told the Nature
oF veedicTion, SIR NekewJawTls> Caw¥or prove. They oid Wot déwy
Complaiuan his Joe process Tights | Gad They oid WT pNbed asd Ld Aalst

rou€ The Coort ec Ache Z
Tula

  

   

(2 ty (
J

“ 2il
GES Wee ope raling WA fudicial CapeeTy when euporeivg sianres, “Cen
VegewcdavTe ga ssibly think bave Tum urity 2
12. SURBQOGETION awd EXONENATCON, eper anys Us Dc. We, are
io TWMUHE Lrow & SUIT Loe SubmgATION, This DE leatrer 42 brought ve ig all He
. ( evideMer To Show pis Comvichiodk
Above, 1s Not acted OM PHONE sLo mplaNawT eae iy ‘1a Feal Currewe Jat
was id Commerce, Fist, the Usha LNCe deals owty 1 “ Cold dhter an Cue
The etywles are Commercial iv Nature , Tegui nag “a Giwe« (er 8 Couey
To he U.6-A-IWe, by (aws ar TAFCPR F2.14l wherein, The USA Ive, €
CHARS Gre Commercial aud Dow L Cole AT this Cot Ta Divas caned badkstreel where
Ss He ; J AS Tm , 4 Q fe :
Numbers Aud CAGE Codes [fo mprerligl Gptcl gaurd Mest ently pomber issued be The
Deverse Log iSliec Lat fo mation Se

+ ; ott clic of The De narTanre AIT OF Degense f Shows wa USA.
: , j : 1 oe * ZF
WC, if OPECETMG in Commerce, for PIreLiL? L caps evew show This Covet ves recei-
VES Gn iMCOM Stream Prom every CONVICTION, which ig @ hyge Conflict of Iaterest.
t have ger ll OF This 16 weeded).
AAA3,, BY the ComMIVMiCw Gud Equity Will Wet Suffer & Wrong To AQ WiThoot a penady,.
ah a4, “The Ae opxfartts had 0 CoMracr entered to evidtxR 1m Case(s Ne 44-CR° OOS
CEA istricr ee Col yar Bus) 56: F5-O0e Yo-Of (Distaic
CDisieyeT OPEN UR LEC

faints

 

i
f

2« Tos Mirody) ~~
ECD Ty. af fron fe NY rOL CDsTRicy OF vis Khigs ek) 5
iST21cy, @& Ae ;

: cer Chee Aah | RT &*)
CPeclinAdal ce
which booud the Comaplaang nT iw

1 CR 63-16-0f-
, € Weinregee starvTes , Thecehy fea (ring To nucke
the Cours Staley GUbpecT prcater JuActien

E18, Derewsants): THA Hoge
— and Wag STA Cugewts vowed Ai) Wot ink 7

The Coots vid chor [whether Comme law

CH The ConyplamnlanT og The Mature OF
Or CdMirl TY] Phereby Vio l4Ine
Ie proves, Td) PRY MOMS

#6. DefeudanTs Miscann “ed the Sldjle Te The MAN cccused, Whe t¢ AoT Mate) sp
he State , thereb

 

a caling Te Involse The Courts Sealifory yorisdicNen.
mpeg beeen Le Void defer dauns) do HoT have lamuniTy The VS.8, j¢ WT
WG iw CREWS Topic ore; “am 2 f, Mot.
immuarty” is Necessang et Soverei yn) CopaciTy ) Ges therefore rb” Wal ye of
Hg,

   

    
 

 

   
 
  
  

i 1.
base NO. 6571S 7 OCCHb-O15 7-4

ctiw ase
oe Nee : 2-20Y4-0)* anwi
scl WF v

     

7 5
4 Cie A © Fed eid Jill CrsT oe ne Clale HK Crpod wr ic
1 C.c0S ta) The pactie cs Thar Come My Cie vis

 

 

    
   

 

 

 

 

- 0nd 19493. ~under bras avd nejudice ACTS Unison
thetar d wd CoOr Con (T YCSVENT TO UCL, [1035 U-C-C. IBF oul UL C.- O08 TES.
Hosa Orders daTed °e 4 2 CWO Noe the Salen cay gocu ate 77

 
| 1
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 9 of 24

NoTeE 4 “me foilowl we, Aefinthor ae Souere taniy +6 . “ .
mn J rou Bouviers §4™ odie. law

DicTionoyy €C @ueTing Prow U Whea>&lk c : eal

WW want . ° 74 1 100 ; ? il

Just thovghT A Matter of Importamce To SeTernvve Lrom whet

Hoorce fhe Unrted States oe rives irs avihertty be ML Qvesior here proposed iF Wikher
cur bend wr Laton 1 & Comnacr entere/ iwfo by the site. Of WheThee fhe Comctiq—
TION 15 and ovganit lows established hy TL Peogle. To This we answers We [kena
Orda” awd establish This Conch Tian, the government o¢ fhe stare hod Only kkeake/
power (fromthe people) an? ever tf They bag av inclinemtors, Theg hed ve athe ri

To Trane The. avthoniTy ve LR Sovereign people. Tl. peonale Ip he iy CxpaciT4 as
Souertions Made avd adopfeJTe CopstiTTiop 1 ard ith: Ad Hh

Bid the State gover nrc yA wou;
cen]. The ume) STATES as a whole, therefore, emanates Lrg wa The
Pele aud WT fronn the. States, an ThE, ComiMPTOM and lav of The. skgesare

Suhordlvane To The Unite) Seater Cousfr7ufion and The (gwt Mac tr) purivance OF i7,
onl _G£e Zhe Bowl) oc. Sovereignty» The whole war oniqialy Ussth Then ac
their oui, TL eee aoermmevTs ae bf Tsiees Acting veer a derived avthoci

awd had We pawer To delegate whal irwet delegates To Them. Get he poeple, i ihe
original Pouwtain, Might Take awey wheel T have let and in West To whom

They plecee. They have the whole TiN gd ag absolve proprietors, have fhe rie ny
of USING of abu s iWg— Jus vTeniol et absewdi, TT is a Maxim Cowsecrated iw py blic law

Ao well aS Common Sew5Se ane The MECESITY The Case That A _SoverGign is

answerable Lor his acts omy To his Godand his owe) Cowscrente ~~~ There
IS No Av Thovity ahove & Sovereign) To whith aw anyeal Caw he Mele.”

é . - “ s .
| Wheet, Yor (Govvier'S (Ythed. jaw Diromarg 1 SO Vereionty” ),
itg3

the Cow greys CGpnoT revoke fhe. Sovereiow) pe wer ag The people ~fo lest ide
Merc Wilas us declared.” Yerry Vv. Uni

Ted States, ( 1913S) 294 US. 30, 362,
NOTE! The Above pois awe QIhONher a @ ; wid AMATO ”
awe) oan +, be ' Ww her Uwe not CxlaausTive aud adlATIOWS Cow be

S- By SoVA REIGN £5 ANSWERABLE ONLY TO GOD Anh Gwscrencs
CavEAT

poms . That TE degard ans o) Megs Tra] “ pons Resp
Of This memcranoldn of law on/ So vereiQnly o% The ¥ eole with Poi pT¢ Gad aVIhoviTies
[via Certified Mai | # - opie and Reatinsl it
Mew/e yperd Yeu 70 veyjew aud response) To Bee above Meracravdn quel Lach pi ply
Gn S ‘autyorimes’ as env mbraFe) above and AotumenTé? oygons the vbhe (eoord,
by Certified), u.s. Meil Fo the Cgoverelgh* ar adeste/ Selo or To the KeT ary

address as “wdicated below, Within WS days Ypons rece pT OF Tai Menorantelie,
Allowre un To Three (3) days grace fer (efurd Mo/ Hhvery.
|
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 10 of 24

| failure fe do So, by at evler a \ pvblre Secv4awty/ who b \ Ouch o¢ A
OF OUTY AS an TEPC AORUTS OY Cuppleg ee Ee Jeu eT Lae
Cos eporstion muUwinoli74) CTC .2 . Gid, or b4 Gnw/ rovepr Ue ‘posMons! ice
oc NSuperior KMoWwledg2 of the law * will place yeu im default, aud he we-
SUmpTion Wi be TAKE Upon fle privale aud public record Tal you awd Your
oferce Bully agrees To TH? S points Gud QuMorifies” Cooked within This

MeMmovan dim awd Thal Thanos and avtherNer’ ave trve, Correct a,
CeTain. (6 2-O.8 Bd). --, cud Marrone of Be We the Qeogie'ac arsed
below and bis [her Secel /ergpeaqore 1p Soverelgn WT Thin inn ColecTive Capercity
H Sard) WE tHe @Eete gad possesses Trve Sovereign Power.

NOFicETo Pan GAL Is RONCE To Koent Ral) NOIKCE TO RGENT YS Honice
To PesncPar,

dated Ny __] dy of Fehon Mov op 2029,

Kespectily, Sovereign fiat Ataneraepe:

beeen tne ene enn, TeCLVe Forty, Gi Juris, ove af Tre Sovereign
progk, A private Maw ev Pe lawd, Now-Corabalanl, an American by birth,
a ec bild of The Living Good GranTor, Secured larly | Cred Tor aad tpinvespad

me Which igure e x ; fs
KIM) Lo Cnffece/ ex To The orgavyTiew of Be. spare
ats INKTCE. 9 OM of

AN ra 4s i
For all Co mmu Miguel elreashere “

Mat Fespowse To Notary gr, FCC Coleman usr4#
, o US

2-10. XtSzq
NETE® Vou cure Parr CoTREN Frocde, 3353

ar th . . -
Con become Vieng oft cpre Sovereign) AThOVITY, WA Collective eiTY yay
CF One = The Sovereigns aay your Eee Ne ichded Copeiary oud s7ep ae hep ouTon

. P ro ft, 5 tee e
le

ATs Your bistocy~ ans! Se Tily ae Me Ther: 5 o¢ Isree/ Cary rl. 114 in ith Go
MOTion Send A TegvesT Por the Iefecwncional Powe’ & Severe ighty For wove infor

a vere sl § B [3c \ © . .
Packet To De butricad $ bvlenn 7/ J SSAMATIONS [ria ¢11T) 54)
Cinzey, . ,
YRivccigne, b fecal

 

Sui juris, wi “Wltnrance, (r) fire
de “ (ID AS ITANE, Spee Susorn) fobs Gr
4 < ; Col G Being ki
hot fo RS Cepo tater Contyocted wpary Public 5
VG The Co . larg fhe Services, an) Com cier)
MATES porary Rhlre Services dre oFen) with mel) ee on cer) 4G

Timely g . : oA rs;
Y Wallcbles aa) bere Naat Two ov Ylore wieses aa he Live 5 Fo

(A S244, oro ceechary
Of Gud! Ai emed Te Tir
ewayped Mand, aur) yarable Te

% Contyacted wot, :

Ne feyicer 2 0) WG ,

awd Two (Whe -- dash b, fob WICES Ww 1240, LS oR prety WIT ELE, Sig p+TUre
ying SocumernTt olafeo__2Lled * .
Mv eufiTy. CC# py! 7° ; of 7 lea wn) (hendypy
| I
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 11 of 24

Roop 6 Ona
Printed Name

 

 

J )
(hen lint s

Contes wang,

 

 

 

CERTIFIED Mpil Number >.

  

Ly Fosse Lu Mainijs,, @

Uw dey The
28 U5.C- & | 7 ;

° 3-C- § R46, TAIE Mak T have res!

°f aw w Mh port td dW ThoriNier o at Sover tlgnlTy, OF The

4 positing Then WE The wpe) Mel Sysera at Pa [YT Send were — 18 —

pov processing in The US. Yoal Mail Bex hy Plier sTeft, 10 Cul (00S A WAKE Wh,

Housrow v. Lick, [FP US. Bet 225-76 (i988) OW This 1 cheyge —Fedautepore.

@

pevalty oe perpord) [Ysa fo
Cd The abwe. Neferenced Hemrvandunr
peogle’ af tH cae)

.

’ . , wnt Ni LA COAL
W thhooT Prejudice POLL _
v

FoC Colémgn) uSPA2

Maile/ To: THE Uniten States DufeieT CourT 0 Soo floning - Midway Divisren—

OFEMCE OF THE CIERK
325 Consens Peg PNW,
Waghua7eor . | CK . ;
“or Qu boty oc Quertbody That is Ipvota in) The. C56)

above in WR Livy pege,

Sw
Vo] Ee” AF you aw/ this Disticl Couvl dowt Comply wih De Jenrgni
herein, Lan Jew vaG aT Tuis Dighrcd Courl gran | ranetarTe Agree
MewT ee This Court Jo fre cee) Tliis Cose iw Tha €Eleveh CrveutT
Co vurT,

 

- fF oft —
ef ful
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 12 of 24

 

Bete ~ | AND Sy pont HE ComPlLiie reovtng tHe ABSE OF DisceéTion AW?

ORAS oF T F. Wogan dated avd L)le) on Lee
2) seeming ( Jeg eT of Con ane “Hy SUC MEW, LS No,
H)

uy

  

asa |

od,
PY

ae =443- CR ca HS C

> he PUL POE) PON
tai yhosiay yp aesaey ‘q pp

4

| | J
- lave @ vce stm Ton
| | Faow Soyerergn; rose luis Mala 40. vider These

i

> Si ne
Wee age NE Mb Nanette as eRe

CeMifye:/ Mal pumber PEFol8- 1930-0) - 1OlF- eet

stile Es *
\ preMoR i DUA. o€ Law wilt Por NTS Awp a. mene?
Ow ‘sovereignty? ef he peop (eds Relation To ee.
of The ueca\ COmpoct-ve-Focto stares aw! Fed eral GoserinerT,
To: Te Fy Hes 5 JJ —— awd ay Gluey Hare.

J Fedeval ages of wEFucial ¢ Involved | 3 Cosel) g Ghové any Te meery.
Unite Stes Dafesct Couet, all Under Their personol ud OF

 

pens

THAT 7
To-whow, hese present Shall Come § Greetiva take Merce,

“Thi war undercTeod Lact OF American hisec mister thar Te Most
dy wamic do euntVy THAT Tne Course SoS rica *

Oe emai " fosedh The. Ty Tranny &
enenol 2 IT was is The o) UCUMOAT ce *
lish puer MEWS,” ST exnpessed que telemenTs” oc tre fae ite He

within ay Society, awd That all Men are created Cgual The Bec q nv

o€ wile sw howe cp pv lated the chai or autaor ty ay Thin ano teat
and of he obvious Fact That the pe opt fcceated 2 ge ee ney

ho twstiT1ed ees w f ee rye
ee eS eal’) N We? Zoned! faay governor’ [ar evry (7
Their * just pout Lyd the user oc ™ spur

; Ve all
Er alSoy a we established Lak that ne people sid wor g v mee
Their (powers To qe AT Thee Awe peopl

gover me -
N ELA UE o frog Created 19 pave Place ene ve a

> [poson Vi oa “ce:

Serve the Woele within, ther Cetin pce [pest ST end

IN temrds To the princiqles estab shed Pp De, Decleor (ns Foe ea
THe Sob Beventt Com sti jon? written atv Carey Of7

Written CoasTitution ‘is Not on ly THe AT a 1c Sse cud TRE ee
Qa, “4

ecisron A

10n) i d

wil is alse IL. csi 8p eget Code be iv vad. (holes d au
eit iT Ae T conf? Ax tric Wire vMnli£e

149 Na.
e(. Cred,
tL (the Peoplel) ” for roecrene ee; Cw r

Mi est, dcembhanlL. 12S é.\4
Skt asub.ui.L09 Beeteg Co, 18tMD, 623, 120 W
\%,
544,57 a haut Hea. 258 aah 120. os wc-R- 3
oe: + Tevrasie. Coon Ve Marshal |ay Tex, 45,76 SW, ad [oo%, 16 ALR.

$02 + SiaTe 2x yd Lewd Ve Lawglie 45 Wash. 20 G2, 2939.24 464; j

 

     
  

 

 
 

        
   

—\ oe F—
| | vl
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 13 of 24

re awd TAKE NONCE af: 0X Le llowinr Centers) ew! 217 6

a i ‘ For pry evolution Took place The peogle of Cach state became the selves Sovereigy*
Macha eal Pell (1342) Yi vs, Te tev BEE MIO, 10 Leéd 974, OW? ).

#2. the [ster€] GusTillo,) is The Supreme low, writen by he Spreme power Of Tox
Stale, the peonle Theuselver, ” le am-layene for.lechoot Dist. 20 Ohio Mise. 22,49
Ohio Os, 2) 143,250 NE. 20 lod: Ste ax rel, Weisberger wv Milles 8F Orie Si. 1, PME 1078,

a d a.\fT tcp) Ceafed

#3 ° The Comstitojion IF The Voice of. he peg le Speanive wa their Sov erign CofteciTy, ewuel
ir Must he heeded; when the Com DTion aplarS with rege reace 10 a parhular Mater, ir
Must be given effect &s The parantorrsT bua! o¢ ThE (and, “Peale % Parks, 53 Cal, G24.

. XM ‘ -. , ; , te oe Che J Sauce
Hd, Souerelgsty eTsele 14, of Course NET Subd fo (aw, es ae fhe cage ant! of. Govern

. ro a lege €e c

ie (aws byt (ws our Sy eu, while severelgn GPOwers € "al gouertiueat O65 Gud ACTS,
MewT, GovereighTy iTselg 0 Mars with the people, hi us brea Ig ys. 36¢

Dasd The laws isthe defwindn aad LreiTation af Power, Yick v. Hopkins, 113 US. .

* 5, Under coc System The. people, whe were thece Le eudaue ] Called Sobel are hee me
Gov er eign) tee Their rights, wheter Cleve ot tndividal, are wr bound TS give Widty To ; i a
Loyatry TO The Perso GE A Monacch, The Crem hee Ts buevica.] iMows No peron, ow Wer iw
Years ToThose ip power, o¢ how ever preergul Wiaset? Toe who he Nee) To yale the right¢

which The law secvles tS hime ee 7 Ute States Vv, he ob US. 1% af 208,

i Here Te AMET CE Se VEFZIghTy resTC with The persale,¢ hisin Ext, ve Georgia A Led (2 ball)
415, 4a.
a7

a at \s True thal ar lenglish] Co ramon) law The My or the Ariorwey Geweval wie Ts

@ SewT the Kine ) he be wg the embodi'uevr o The $fale. Bur vader The Jemecratic Lorn

Of QOVerWMeW/T Wow puevailieg The people [exe] Kiwg 50 the KMorney boyerals dufics are fo
That Sovereign techew Than To he Muchiwerfp “ epvernmMemt, " Yoncock’ Vs Carty Alcorn) Mi wing
Contes Ky, 503 Swit Fo, D Section 4, CommewweelTh Ev rel.
awn Vr Payton) Keastucky, Ib S.U ao page 364@ clause 3. a

HS. local laws o Oniwames emucted hy a CiTY MIST bE Consiicteut with The Same Comsififiow,

DEM _v. Vaughal v. 4 Ve ? 195 Fla, 55), Z\ So. 2d 31, Evan Vv, Aewy, 262 NY, a, 196 NE.203,94 nib. 38F.

*4, Tristhe duty call Officials, Whether legislarive, joddciad execen ve, alas, ©
Ministerial Je so pecgorm ever OH rcial acl a¢ MoT Te Vidlate Cowh Wfieval provisions,
Mowigomery v.sTule 55 Flu. ge 4 So. 8F%-

4819, * The. provisions Of Te ComstipTion pust be glued ee even ie i BiG 50 O sate

) 7 wr.

7 Meshes Te Be swoneieQve-” State ex pel, Weer v. Quitlec, Fo Fia.\02, 6950, Hl.

ij “The Cenrsti FT op WUS Mad MOTT? act U; = :

. é T Upon The legii lative depar MEW Olu bu
SLEML hi TMeNT of Ihe GoverMment,” Way v, Hillier, [b Otic 105. ,
AEI24 Courts should wer Tolevale or Cantowe Accegard of Gw awd arbllracy UpSurpalion € power

Oe Me fact o¢ any Octicer, “ [pub NETHED. shoul THe PeciLel] Ex Yacle Owens 10 Ola Ciias Rep. 294
b) Piast, Dwn Cas (H6KA 522,

7 upow

Aya 8 . - .
regutieateas EES oF ThE (aw, i) ThE axecuTion of. process afe obligated To KMows the
Anyoue i¢ hav ed Ken are if they Mifare Them, whe Ther thous ly igalost ee or gevien, aad
PTE UCe 0€ Rog fNU Care, THEY MUST RESioW IN ORMAGES.” ResTers V. Herchal (ox ited

es Vv. Cokin) 1 Wall, CUS) yy NF Led 414 (euplois aed).
|

Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 14 of 24

ae . . : . te
4b(4. Tris @ gewtsal rule Thal qu ogicer~ VKecuTiVve, ae/a wisTranvé, grate ped ced ; Aynislerreal

Or Oherwse~ who acTt avtswe fhe ccope og. hit Tyurietetion Gud witheel- avthorizection Op. (eeue ft
Thereby render himsetp amenalle To oe Of. di. 4 ‘ oF, bide Dei 0, HELD

acctaatal LiabilT “Caper. () lasses,
135,18 ALA 1440 ;- Chawbetlasev. ClayTou, § 6 Lowe 2\, 4 WW) ABF, 41 Arm Rep (Bl.

415, IF a Poblic Officer Authorizes The bing o£ AN Act weT within The Scope o¢ hic Guthocdy,
he wit be help Lidble.” bailed ve ilaal York’, 3 Hus INT 631,38 fm bee 667. Ag rmedin 2
Demis 433,

HOD Ely vow Counly the VPeogle ave Sovelesgn:++« rand The goverdmeNn'T Cannot Sever

IT relatiowship To De eagle +, “ Ahoyimn 3g? U.S et 25%, 32-9.Cr. af 1662»

NN

He. Tw Common/ USAGE, Mae Tern “person Joes WOT inchdé the sovereign, aad StamTec
Cusployiney iT will ordinarily Poy be Cowstru &) To Jo $0." U5. Vo Uvited Hive Workers, Bbc 0,5,
488 C1444), 41 L, € 884, GF S. Cr. Cb?

413, Swice iW Common usage ;The Tecan person PES WET inclvd@ y Ss veclign) Stal ec

Not Cuagly rate, The parases ove ordinarily ComsTrue) To exclude 17“ LUS-C. 4 NL IX ,
United cirec ve Fox 94 U-S. 31S
AA here right $ecoced by the Cont Tien are INVaVeO, there Can be we Pe Holcng
of (egulaNiow which would abrogale thew  Myawda Vf 32M - . ;
#20... The Congress Cane revoke The Sove/eign power of- fhe pn exe « arg Vv. Uwe)
States 274 US. 30,353 (1455),

#21.“ theve is Wo such Thins as a power 9 werent SOvER GAT id The governUe TT OF Tae

nied STares, lw Ns Coumry SovectigwT Y rece ier ie the people, anu Contest Con 2x eEMKE
~ powec Which H,

cili,) “7 have Wor, by ther Conttivhan entered) Te 7? Ail ese is withheld,
Wwilterl Ve Greenman IO U>s. 4Al

E22. Ay o .

pret ecto at GOVE TM Ment oes and provides (651i maflely Mita [ePIAT of ar My To provide
ar Por (ir tale righT« > . cos Wht ow

1 neal. WE THe bot ee Wa teogle 13 NY 38, Which ALT th er AZT ovtedd

is &xTingvished MT dscharecd Ard IN& erivgre Wer franchise w Aids whieh Deb T aud by
Usin Manniev ae Convinnene, 2 ore peep eTuch Wie VACTI Cx Wheat T go uer, Ae provides foo
Vener, ~ tile y. Hewk, 201 v. aa, TYt The WEN franchise) Iuditiddal eule, Nothing TO The a -

aT 43
“ ;~ 1 F ‘ * 7% . .
#22, Urcltlm por Loom tt GOURMET, The legislatore (iS Noy Supreme, it is only ove

ans Thal abso Plenty uvhic : _ :
nee bulies of tke revere ignily whi hb resides ww The whole bod. athe peoples Ghe
OT, whew 3 — OV LMR ATT (v Car oly 2x ercse Such Powers as has been Aeleguter)
a T Skips began) Mal hovndary, 173 Ach... are uilerly Voie), “Billie Vv. be 7 AL
(Covet of- Anna, ig US.) ; 4
ae gy, “We The people have dschor a) avy ObT Which Mey be Said Fa, @xisT or Fe Owed
To Me STule or Government ‘The Gaver Mec GLE, hovev es (aehTe/ cominually To he people )
because the people Che sovertlgvs} create) The govern! mew! Corpacalion aur aecame Wwe
Suptey (TS CnTinue enisTence, the Conf pved eblanted 7 [hk Peale is Hicherged Olly As IT
Comfides MT To Wolal@ Our prvale PighT1 Gud whe QUCIMALEMT. Ue pyt TYP pride
[PETE CTIOW - Aicharge iK debt 70 The pegale, ir is ans aban don men Jauiapirg] oF any aud al/
fewer, au poviTg er YAM ee a ‘Souertig nly“ which i possessed, awe) The laws pena fhe
Fame, The Sorer€l Ty reefing To Te people whence ir Came.” Dow 4. Pudusell, 182 US. 274,

 

g_ Ae Or

—30C7 —
|

Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 15 of 24

3525,. the’ wolivial Ma Sand upars his Cons Totowa riGhTr CL Hw rT 4¢ 0; He is -
Cried To Can on his prt Wale busivess jn hie Qu Whey, Hi (Pwr TO Con7freacy 1s white),
He owes wo ON To the state 6; Te his Neighbors to AWlge his busimetror To oer bis doors
TO WEST Cofionses He Owl plo dvTy To he GTude Since Ke veceiver moling Mere our

Yd the nclecTion of his (Ee aud propecty » His right are Such 4 exiTed by The Verus
of fhe lan, (owe, aCe NT To he ovge WryiTien ofthe state add Cant oly be.
FANON Srawr him by Jue MOCO af the (aW gird sn) rccordante With The Const ATionm: HE

Owes wethivg To He public cs (ong as he does pet Trespase vpow Meir NPIS. Suppeme.
Courl, Hale y, Hekle 201.8. 1B at #4,
4 ay, the people, oc The Sovereign are MoT bound by gewtral Word id STAav7e 9 FecIngh -
Ve of 2 COGorTWE hght« WTe or IATECEST Uwlecs Lenrecsly Mame, Rere « lial
T1o® do Wot bind AT The king wor Ihe people. The people have heen Cede) Ail the
Mights oF THe bina , The Poymer Sovereigns +- ITIs a Maxim of The Common law
ter odie oi er tale hep pe fe api al
telajior> aw Yustice aad To preven Indpury and wrong, The King SNAN 6! PY
Such ans Ket Though eT Warmed! buT When a STATE 16 gow er, and PLEO me
ViGhIS, TIT o (aferesT wold) be of vested or Tare Brom the King (ov Te pe pled
jw Such Coase. he shail Mot he dou. The Beagle V. Her kirter, 1S American

decisions BAH Cowen WY 346, 348 (ig20).

#27, the Supreme CourT in The Case ag Wille Vv, Michigan] Srafe Pahce
(1984) Muse ir pecfectty Clear That [he Sover@rep CapssloT —)
Merely a ~ Perea al” Oc Sanig Pectons", TattiantT am a member o tlhe. Seve reignry AS SE He
iw VitK Wo vy. Hopkins, 15 V-S-386 aw ped SLOT CaSe bo S. 3%],

#99,“ SoNece iGNTy TSe 15,06 Course, por SubpeeT To law for ‘We is Te author au) Sour ce

of (aw,” ick we Vv. Hotkius, au Woo Lee vy. dopkiws 118 U.S, B56. ne
he (aw Subscribes To THe KeMG Civ Awertlon, he neonle) The atwibete of Sve
reign “the 14 Sovereign guid tndeged dent withird his Oui Ata wte j aod ques 40 a) x

‘ ay ofe2 ; Te upow earth. Heree, TH, That No SviT oe AVE CaM ,
pO en fe kindy, it ce owil Mamrers, LCase & Courl lary Aave juice Tie
)

be brovehT agains ; : 4 ple. 1 GCG Ni
over von? or ail funiiddicner pang es Supremacy og prover, © Chis helar ve SIs

A Vall. 44,4,

. ei . *
3p, Teople op a stare are ertilied T2 all reglite wie} ferme ly belernge) fo the
bad his tremeutve.” lamsig ve Smith, 4 Wentele 9,2 (182g),

31. “IN Euro - oe
wire iT is Fi oh ane executive i SymonyMuce WA fle Sv vereignt power ae lLe STATE. -
eve, The Case iy kh gb feo by force ov frwd or b°5%f- -- Id hurevitenovs-
CCIGNTY Wal, qu/ it, do fe renT, Qur goverment it founda) tpord Co wewre

7 wes, LIN WLR neonle,” Glau we The Soop hefty 3 Dau Cn. i Pale
Supreme ConT Reporter), ? ¥, ILS.
A. ~
O2.. Av the Vuile) Saqes Te
Sever ITs reltionihp To Tr

Rosh, 384 V.S.252 (1469),

Ede td 4S
} oS oteqTTe:_ Cx

     

people are Sovereign aw/ he govern ment Cypher
peopl by king Way their CM zentchip,“ Arroy iM V.

—-4orz7 -
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 16 of 24

mere That had been) Made
re Poot aud vod 7 as al The orders and decisrows 10% v
by actions of Th Fe Wega aw’ ail ust)
Magistials asenns jx) These Cases) above are cad had been Moot Qua Vole.

* spligy Ne es ‘ @ . e
ar (AQ. ee ee -) aM hereby In Promla PecsoNa, To Offican Thott
comstiiowaly lawfully Law ec jure private, Natiue- bor Bue citan Matis wal
woe ueregn I ehabilan OS WeETIL (2d iW fencle Section 2% OF Tha Commtvri 07 te,
ThE Wwited STATES OF ANEEICr4 “Nor a \Pedevally owRled U.S. Citizen,’ bC-, cap. Sor
a Specially created TH™ PrmrendMenT CiT1GEn. Thos T&M one OTR peope

; The OLA
Laud. Tam hereby With afeirmetions WM VxpliciT reserves oF a of My
“5

ryt . Y -¢
UNALEENABLE RaGaTs, ackMowledge My Affirmations af Ky “acenit > Coenticare
CiTizeuship” as Me berg Under The Cousplowal arTiclewr authority whereL
have Te be released 8, fewitenMiocy 's hernsg advatly iieent of Bie UNCORS-
; wm The U.S Y 4g ANALY ;

TAUTOMAl UMlavigeyl | Procedurals eg ——-—— TF Hogan:
—~ , & d Magistr ae AGENTS i These Case(s) Gbove. ;
) JOSE alu ( S Avana po-S Under the Mature of The sTaus of- The Qocts agtiran 15 here,
L CH ran Thad jn Trve Poet a x aAeTe . = Tc E bregca/

Qasd Mog dials Jaiolved js Me Case ‘Qhove ,*Mever In iige had, Nov have CouctrisTionaly
é ently hens d2) The Conplarnant by The CorporoTion) Cogent V-S- ATIOrneYy as 15 seceriéed iT
they is eguired by (aw, ” #2, Never ind Cife ouy of Yau had, Wor howe Q Copsppniowa ll
Cauetlly indictment, wor Mrrest Warrant ON 1953; 70 (MoT ww ayeaT Gucritinomely
af vily Jose~lus: Aus yo-@_avd _, ackvovitedae ThaY your Court dont prove

oT OLN TM Thar guy ef hese 2-Jocumoatte were pT ot placed in Archives ems"
docket Covel fecords an J ©

Core inant never received, Nar hod) Scen any of those
3- documents jp Lige, and w ected wore denied by your Court, Thes
VOwty de STaIe OR TCC In

uo He of You Peseta AGE YL (acpovatinn) UMC oesT ITO TIO se My -
. these Tc are  ecyee a Ls
above gud hes toc To Offirm aad prove Cull TR i srues Gnd Lott presented heres
Seve 1945 3 Way do eg ee Ve Peed oe
pe Eo, 4 AMT 2d, read! ipaw aAckiMulesg2 iT Thar Cherm en OF Brooks? Juris —
WW) Rook 4 Ams 20 § 1. )» APreReAU CE" Sweranc® Cag)
33 - DeGiwiticpy
33, Geweyal or Special
83. Abahition OF Distinctions
Do. i‘ Th dre wel o¢ AMpeorante
- f! GES LO UN

a) Qnyje 43S of Suing AtUmerTo.
Le ecewee were The she piogie , * g SoyperTs Mi rariacs

> f tf : *

Bh a EE Meter ji riscl Tt

i CGA) .

 

 

 

#20.

   
  
   
   

     

        
   
 
   
  

 

   
   

hie Cas. ini ME
an . A Bavol be ’ fe y “4
An 01 F-CR- OOOY: ; ~
“4 v OF Yeu Meyer hed, Ns ~ have 78 OF#) with here

+» 43--C a Doo Hg Orn Se! Juvisdictien
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 17 of 24

4)
\ DEMAND Coa LUMEDrTEty REMEF

BQ]. tr, Foseluis * Nalin fo @ nar hevehy ind proper persona AomanidG
of +, F. toe cin whe was am iw Ajil CCNY = IniVtve a! Mag ts-

Trars agewS involved iw This Mook vow Case Na 43-CR- oo 4! 8 GF a) “Te Gus-
Titetiowaily (awlyily point by poivT RebuTt evety issvetsy awd fects Offirrned
tn Tis Co plain Dnt Complaint or Te immediately melease Jose ivis NAMa/4e ;
ToMe v5. Ae ATS wilhouT TWejodice "TF you dowT Comply wit avy oftiese
Pemawds on owe Moth Brom the gale That you pecewe his Conylainana CmptlnT
WW be Aen under Simlervationa) defau T” by allel Yo oud by YS. Delret
Fudge. “BE aN an / ail Mag istager inveved ieee Cn lop.
vee cely. Gubattied hy dese luis: Atveryo -— :
mtn th or We udiee , Fore a: Metanyo . )TFOe “4 phi. Sep ©
Under Nc. Fuse Cv Makirg- 4 |
Res No.dyZi0S3 at. Foc Coleman UsPFA , Fev

Oiag0 J tin eipa) by opecial Oypeowa ce , in prep la fPerfOnA, proceed ie

Goi eri, wiTh Assistance, Special Sworn, Subscribed), aad affwmed & This
— oly of Kebeua / 2020, berg a prifower, ave wwable °

pay Bo r naary Services, awd Cowrt dering Thal Wviar7 ore o¢sen) WuiThie

 

onTBrs, Or NIST Timely aval lable; Sand being et ie or Oe
Wwalewl To a NoTary~ ewclosed 6a pronee lf W ,
Tita MENTS. TAAT Wil Verio MY ident iT,

  
    

 

[eedotfo-G: Ute. ©
evar awe

uae (saver 5

VUNT VAarKe

 

 

ResnectEAl Sub aiTTe) ,
Mt pyrtt. dropeeye
Adar WiThodt COCOSC, Jog y~WegaTrable

a ~ le . _— ¢
awlogreph, dvi Jvres, PiVvale Mative haraf °
Boa National Mon 6 C1 ey ~ Vere; ¢,)
ew Efr Cia] Her 6 First Cen Ider o¢

LS. Thumb bint

OSE TZ | Natoye ESTATE, {bla Fose-t ‘Maral po °

 

-6 Fe —
| :
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 18 of 24

~
x 4

CERTIFICATE 0€ SEevicée

L  yose d, Mactulyo ; Jeclare vader the pevalty of perjury , purs JawT
TO 240.5,.C, $ItHG, Thal TZ have Maled The above PEER rece e/ cule),
aS iy dt Caled, by Peps sling Theur wo The internal Mail SysTeur aT oy
IMT Ton for proce ssima id The US-Postel Mail b [10180 STAFF, 30
jaccordane, with Houspow vy. Lack, 4&F US. 266 ,2tS- 76 C9889). OW

Juric 4 ay of cbr c 1, 2020,

 

HW Ak (hy CAO ALO
Mi | OT preavvdtce- OL. ar 2
bee. woah oss Mibitga. ©
FCC Cole man) Uspte

P.O: GoK. 1034

Coleman, ft 335Al

Noticé:

You have My ConmcenT To Seud or give & Cony a6 TWs Gapurnmr f
Cow GiwT Te the US. Mtrovnuzys) Coenoretion involV ee) ip This
Case Nb. 73-CR- OOO) § (FH) [cc.File] awd Find aTroched with Tas right
Griedasce prece dure ComplaquT w Cop o¢ the CoMAtan) Lased Copy t tg

<£

, ps4
Aetice or puwe Awd Cony of Muy N mpl daviT Cerf ficaye o£ CiT12eM shine
|
Case 1:93-cr-00418-TFH Document 639 . Filed 02/21/20 Page 19 of 24

Common Law Copyright Notice :
Common Law Copyright Notice: All rights reserved 1 re: common- -law, copyright. of
irade-name/trademark, JOSE Luts Macao STERnr ‘©- as .well as any and all
derivatives and variations in the spelling of said trade-names/trademarks - Copyright 1974
(25*Birth-Day-Year- /744, Sepfewbe -——}'by Fast luis AJaranjo (ec).
trade-names/trademarks, ©, may neither be used, nor reproduced, neithér'in whole nor in part,
nor in any manner | without the ptior; express, written consent and: acknowledgment
oftose luis Maraw as Signi by ‘the blue-ink signature of -jJese ‘Cuis WA |
far (ce), hereinafte © Party.” With the intent of. being contractually bound, . any
Juristic Person, as well as the agent of said’ J ufistic Person, conserits and agrees by this Copyrig ght
Notice that neither said Juristic Person, nor: thé! agent of said Juristic Person, shall display, nor
otherwise use in any manner, the trade- -namig/trademark; ‘Hor, common-law copyright described
herein, nor any derivative of, nor ary variation, inj'the spelling of, said- name without prior,
express, written consent and acknowiedgment of Secured: Party, as signified by Secured Party’s
signature in blue ink. Secured Party nether grants, ‘nor implies. hor otherwise gives consent for
any unauthorized use of José 4vTS (Ath AAA 0 GIERLA ©, ‘and-all:sueh” unguthorized
-use iS strictly prohibited. secured Party is not: now, nor has Secured Party ever been, an
accornmodation party, nor. a surety, for’ the, purported debtor, ie. “Jose Cufs: Nari
STE ps ©, nor ‘for’ any “derivati ve of, nor for any variation in the spelling of, said name,
nor for any other juristic person, and “is So- o-indemnified and held harmless by Debtor, -i.e.

“ JOSE (LUIS NARANTIO STERR PE ©, “in Hold-harmless and Indemnity Agreement No.
0000000000001 datéd the 3d.th Day of the 42° ‘Month in the Year of: Our ‘Lord Two-

Thousand and Way ' against any and all claims, legal actions, orders, warrants, judgments,
demands, liabilities, losses, depositions, Summonses, . lawsuits, .costs, , fines, hens, levies,
penalties, damages, interests, and expenses whatsoever, ‘both absolute and contingent. as are ‘due
and as might become due, now existing and as might hereafter arisé, and as might be suffered by,
imposed on, and incurred by Debtor for any and every reason, purpose, and cause whatsoever.
self-executing Contract / Security Agreement in Event of Unauthorized Use: By this Copyright
Notice, both the Juristic Person and the agent of said Juristic Person, hereinafter jointly and
severally “User,” consent and agree that aby, use of.“ “José Luts NPRBMIO STER& ©.

"other than authorized use as set forth above; constitutes: "ynauthorized use of Secured Party's
copyrighted property and contractually binds ‘User. This; Notice by. ‘Declaration becomes a
Security Agreement wherein User is a debtor and “Upper and, Lower Case Name ere’ iS
Secured Party, and signifies that User: (1) grants Seclired: Party a secutity interest in all of, User’ s
property and interest in property in the, serh certain | ‘athount ‘of .$500, 000.00 per each: trade-
name/trademark used, per each occurrence’ of. use (vjo) atiofi/infringement), ‘plus triple damages,
plus costs for each such use, as s well as for each) and every use of any and a derivatives of, and

variations in the spelling of, “ Jose AUES. Naranjo SLEMHA Gy) ; (2) authebticates
this Security Agreement wherein User is debtor and ose luls MAioA/po te | is Secyred
Party, and wherein User pledges all f User's $ pr operty, i.e. all consumer goods, farm products,
inventory, equipment, money, investment pioperty,. com imercial tort, claims.. jetters pf credit,

jetter-of-credit rights, chattel paper, instruments, deposit ' accounts, accounts, documents, and

general intangibles. and all User’s inte: est In all such’ foregoing property, now owned and
aftér arising. and wherever located. as collateral for

. Said

hereafter acquired, now existing and here

,
1
Case 1:93-cr-00418-TFH Document 639, Filed 02/21/20 Page 20 of 24

securing Users contractual obligation in favor of Seeured Party for User's unauthorized use of
. Secured Party's copyrighted property; (3) consents: and agrees with Secured Party’ s filing of a
UCC Financing Statement wherein ' User | is Hebtor and Jose Luts | Narang (ey is
Secured, Party; (4) consents and agrees: that said ies Financing Statement described above in
paragraph ‘ "(3)" isa continuing financing | ‘stateméni, and further consents and agrees with
s filing. of any continuation ‘statement, necessary, for. maintaining Secured Party's

Secured Party’s
perfected security interest in al] of User’ $ property, ‘and interest in property pledged as collateral]
until User's contractual obligation

“in Secunty Agreement described ‘above in patagraph"“( 2),”
theretoforé incurred has ‘beef fully satisfied: (3) authorizes Sécured Party’s-filing of any UCC
Financing Statement; as described above in ‘paragraph “(3),” as well as in paragraph “(4),” and
the filing of any Security’ Agreement, as described’ above in paragraph ‘(2),” in the UCC filing

office; (6) consents and agrees: that: any and all such “filings descnbed in paragraph “(4)” <

“(5)” above are not; and may not be considered, bogus, , abd that User will not claim that any sud
filing is bogus; (7) waives all defenses; ‘and, (8). appoints Secured Party as Authorized
Representative for User; effective upon | ‘Uséi’s default’ te User’s contractual obligations in favor
of Secured Party as set forth below under, “Payment Terms” and “Default Terms,’ with full

authorization and power granted Secured Party, for engaging in any and all actions on behalf of
User including, but not limited by, autheiiticatiqn of a record on behalf of User, as Secured Party,

in Secured Party’ s, sole discretion, deems: appropriate, and User further consents and agrees that
this appointment of Seeuréd: Party’: as ‘Authoriged Representative for User, effective. :.upon User's
default, is rrevocablé and coupted | with q security interest. User further consents and-agrees with
all of the. followiie: additional. terms: of Self-exetuting’ Cofntract/Security Agreement. in: Event. of

pets . --
be ° 4 : a

Unaut rized Use. a *

!

unauthorized use “of. Mose burs ,

" Payment- at Terese: In, accordance with. fees for
"as set forth above, User hereby consents and agree§ that User

 Upnmiyo SER ©,
shal] pay Secured: Party all unauthorized-use ‘fees in full within ten (10) days of date Secured
” itemizing said fees, is sent and received.

 

Party’s gnvoice, hereinafter “Invoice,
Default Terms: In event of non- n-payment in full of all unauthorized-use fees by User
within ten (10) days of date Invoice i is sent, User shall be deemed in default and (a) all of User's
property and interest in property plédged’‘as collateral by User, as set forth in above in paragraph
“(2),” immediately becomes property of Secured Party; (b) Secured Party is appointed User’s
Authorized Representative. as set. forth ‘above in paragraph “(1)”; and (2). User consents and
agrees that Secured Party, may take possession of, as’ well as otherwise dispose of in any manner
that Secured Party, in Securéd Party’ s sole discretion, deems appropriate, including, but not
limited by, sale at auction, at any time following User’s default, and without further notice, any
and al] of User's former’ property and interest in ‘property formerly pledged as collateral by User,
now property of Secured Partys, in respect of, this"*'Self-executing Contract/Security Agreement in

Event of: Unauthorized Use,” "that Secured Party, again in Secured Party’s sole discretion, deems

to.
tot '
' it

appropriate. OS
ppropri TY

Terms for Curing Default: 'Upen event. of. default, as set forth above under “Default
Terms,” irrespective: of any. and all ‘of Users’ former property and interest in property in the
possession of, as well. as,disppsed, ‘Of ‘by; Secured: Party, as authorized above under “Default
Terms.” User may cure: “User s* ‘default’ Te! only ‘thé. Femainder of User’s former property and

mo

. * ’ ate . t
i ! eo.

a j

;
Case 1:93-cr-00418- TFH Document 639 Filed 02/21/20 Page 21 of 24

Be.

]

+
i

interest in property formerly pledged as’ collateral that is neither in the possession ‘of, nox
otherwise disposed of by, Secured Party within twenty (20) days of date of User’ s default only

by payment in full. .
£ ,

Terms of Strict Foreclosure: User's non-payment in-full of all unauthorized-ise fees
itemized in Invoice within said twenty- (20) day period for curing default as set forth above
under “Terms for Curing Default” authorizes Secured Party’ s immediate non-judicial strict
‘foreclosure on an y and al] remaining propérty’ and: interest | in property: formetly pledged as
collateral by User, now property of Secured Party, which is not -in thé possession of, : ‘nor

otherwise disposed of by, Secured Party upon éXpiratidn “of, said. twenty. (20) day Istrict-
foreclosure period. Ownership Soper to commd -law copyright and UCC Financing Sictement

and Security Agreement filed with the UEC. ‘filing ¢ bffice., Record Owner! Jose Luis Naan}
; , Autograph Common Law Copyright, WA Od year o¢ LicTa :

Record owner: Secured Party7 creditor name antotraned ‘cofnimonitaw copy right:

wa thay , \ i
1

Copyrighted Date __ Of be 2020 ae 7 . a

LR Po 7 Without” Prejndiée, /Withoat Recéurse --

Ghee lence

ees oo. - ‘Jose tuis Navux yo Secure Pariy,
ACKNOWLEDGEMENT
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 22 of 24

| country of [Miaet~ dane ] state/Republic Tis Dosunene_|

1 TE am-dave. | county

| | | .
RECORDING REQUESTED BY: }

rp  gosk-Luis; Narapo

| |
| NON. DOMESTIC . SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY

SP ones eee ee ener) re: cee cmeh eee eee

AFFIDAVIT: Certificate of Citizenship |

 

KNOW ALL MEN AND WOMEN BY THESE PRESENTS, ihat I, |
BEING FIRST DULY SWORN AN OATH, deposes and says: i

. oO iG
a lta: fo yaudIam dovniciled Ql mine ,FL° » Rees

ush NGN-BOMESTIC. Unless otherwise stated, I have individual knowledge of the matters contained within this
Affidavit. | am fully competent to testify with respect to these matters.

 
 

2. Through an intensive course of study of law, diversity of citizenship, history, economics and politics, |
I affirm that I possess full SOVEREIGN and UNALIENABLE RIGHTS by virtue of the Declaration of
Independence (1776), the Constitution for the united states of America and the Bill of Rights (1791), and over
two hundred years of American case law (i.e., Common law), both prior to and after the undeclared federal,
corporate United States government bankruptcies of 1930-1938. 1 have also given my sacred oath to protect
and defend the Constitution for the united states of America against all enemies foreign and domestic.

3. I affirm that I have the UNALIENABLE RIGHT to choose my lawful citizenship, and that NO
federal, state, local or Municipal government can take that right away by ANY statutory law or administrative |
tule without my knowing, willing and voluntary consent, NOT by threat, duress or coercion (tdc) of any kind,
and NOT by constructive fraud. Therefore I, asseverate and declare my lawful, sovereign Citizenship. |

|
|

4.1 am NOT a legal “person” born or naturalized in the federal "United States," NOT subject to the
. exclusive jurisdiction of the legislative democracy of the federal "United States" (e.g., District of Columbia, '
Puerto Rico, U.S. Virgin Islands, Geam, American Samoa) or any other territory, area or enclave "within the
United States.” The terms "United States" and "U.S." are NOT to be constnued or assumed under any circum-
stances to imply or include the sovereign"50 states” or the "united states of America,” 1am NOT a "U.S. citi- \
zen" described in 26 CFR 1.1-1(c), and NOT a born and naturalized 14th Amendment citizen of the District of
Columbia (DC). Therefore, I am an “alien" with respect to thé federal “United States.”

 

Affidavit: Certificate of Citizenship
PAGE I of 3
| [
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 23 of 24

5. 1 am presumed to be a “nonresident alien" in Title 26, USC §1.871-4, the Internal Revenue Code
(IRC), however not the same "nonresident alien” defined within the IRC pursuant to Title 42, USC §411(b). My
income is NOT derived from sources “within the federal United States," nor am I effectively connected with the |
performance of the functions of a public office "within the United States." My income is part of my “foreign

estate” pursuant to Title 26, USC §7701(a)(31).

6. I do not live “within” the geographical areas of exclusive federal jurisdiction as defined in the Federal |
Land Area Chart. I do npt live "within" ANY of the ten, régional federal areas, territories or enclaves identified
by the numerical, postal zip code. I am a “nonresident alien” outside both general and tangential venue and
jurisdiction of Title 26, USC. I am also NOT a “resident” of the incorporated "State of [name of state]"' as it is |
also under the jurisdiction of the federal “United States”.

7. 1 do hereby certify and declare, that I am an American Citizen of the united states of America (1787) |
and Citizen of the union state in which I am domiciled. I am a “natural born Citizen” (see Constitution for the
united states of America, Article 2, Section 1, Clause 5). ]am NOT subject to the statutory, colorable law
jurisdiction of the federal United States in the corporate monopoly of the federal, State, local and Municipal
governments. I have NOT voluntarily or intentionally waived, with ANY “knowingly intelligent acts" ANY of b
my unalienable rights, and have utterly NO intention of doing so in the future.

8. I am an Citizen of the several states, NOT a federal, corporate United States citizen of the
District of Columbia. 1W@4omiciled in the sovereign state of (Ficel Dy 5 Republic (xxxx), a preamble |
American National state Citizen of the united states of America. —~ |

"the dual character of our citizenship is plainly apparent...a citizen of the United States is ipso facto
and at the same time a Citizen of the state in which he is domiciled..." |
—Colgate v. Harvey, 296 U.S. 404, 427; 80L.,Ed, 299 (1935)

9.1 am also declaring "sui juris " status in connection with both my property and name. If ANY agency
of the government disputes the above declaration of “sui juris” in connection with the "name" SWORN AN
OATH and sealed in this affidavit, 1 demand a certified copy with my signed authorization of all documents or |
contracts being "held-in-due-course," pursuant to U.C.C. 3-305.2, U.C.C. 3-305.52 and U.C.C. 3-505, that |
create ANY legal disability to the claimed “sui juris " status and “alieni juris" relating to my "name." (One's |
"name" is one's property, and for one's “name” to enjoy "sui juris” status that “name” must be free of legal
disability resulting from a contract or commercial agreement, which is being “held-in-due-course” by a fellow
Citizen or by any agency of the federal, state, county or Municipal government.)

|
|
10. I have exercised, and do now exercise the REMEDY of law under U.C.C. 1-207, whereby I may |
preserve my Common law right NOT to be bound by any commercial agreement or bankruptcy action of the
federal United States government, that I do not enter into knowingly, willingly and voluntarily. This explicit |
RESERVATION OF RIGHTS serves as a NOTICE upon all administrative agencies of government,
federal, state and local, that I will not accept the liability associated with the compelled benefit of any |
unrevealed commercial agreement. If I have received any benefits, privileges or titles of nobility (e.g. |
resident, citizen, taxpayer) from any branch of the government in the past, they were "received" under PRO-
TEST, or under threat, duress and coercion (TDC), pursuant to U.C.C. 1-103, U.C.C. 2-302.1, and

U.C.C. 3-608.

 

Affidavit: Certificate of Citizenship
PAGE 2 of 3 |
Case 1:93-cr-00418-TFH Document 639 Filed 02/21/20 Page 24 of 24

11. 1 am NOT willing to participate in the federal United States bankruptcy that is being administrated
against me and my fellow American Citizens WITHOUT my prior knowledge and consent, NOT willing to
APPEAR in an Equity, Maritime/Admiralty or military/marshall law jurisdiction WITHOUT my ACCUSER
and/or CREDITOR present, WITHOUT the signed and authorized American or interNational contract presented
as evidence of my voluntary consent.

12. ANY other evidence or presumption to the contrary is hereby REBUTTED. ANY past signa-
tures or authorizations on Internal Revenue Service (1040's and W-4's), Social Security Administration forms
(SS-5), driver's licenses, vehicle registrations, birth or trust certificates, voter registrations and other franchises
with any agency of the governinent etc., were in ERROR and involuntarily made under threat, duress and

coercion (TDC). I hereby REVOKE, cancel and render NULL & VOID, Nunc Pro Tunc, both currently
and retroactively | to the time of signing, any and all such contracts} * ANY subsequent.use.of these

 

PERJURY JURAT .
Pursuant to Title 28, USC §1746(1) and executed "without the United States,” | affirm under penalty of perjury
under the laws of the united states of America that the foregoing is true and correct, to the best of my belief and
informed knowledge. And Further deponent saith not. | now affix my signature and official seal to all of the
above affirmations with EXPLICIT RESERVATION OF ALL OF MY UNALIENABLE RIGHTS,
WITHOUT PREJUDICE to any of those rights pursuant to U.C.C. 1-207 and U.C.C. 1-103.6.

 

wes jianaage S
L.S>Citizen/Principal, by Special appearance, in P Que lgppona Broeeetin Sui Juris, with Assistance,
Special Swoyry, Suh scrib fOr yy
Being: q Prisoner qn nah é to Pay fy wera ines i fas qd Ay Fe ni we
afar SEYVIEES, QYE TeV Wi, Ov Py /SOVIEYS, oy woe Ga c/
Nand eM beh O oY wore WiINTESSES AYE HE eal Cede Igo!

 

 

     
  
  

Z CL. Z —eerifs re
SUS 5/9 nqytve—  Prinf Wame

WE aide ¢. eet MGA ee eephecks barks
wityess $/ Qua ture Privg ViQwié
Whey Pré efudiie Y.Gle £207 gna L- 103 e

C0: Filed

 

 

Affidavit: Certificate of Citizenship
PAGE 3 of 3
